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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

 LOGAN VILLHAUER,

        Plaintiffs,                                               Case No.: 4:22-cv-49

 vs.

 GARTH HOUSE; JACKSON BRUCKNER;
 KALEB SCHULTZ; BRIAN KELLY; MARK                     JOINT STIPULATION OF DISMISSAL
 CHAPMAN; STEPHANIE SWARTZ;                                   WITH PREJUDICE
 TRUDY PAULSON; DANA WINGERT;
 AND CITY OF DES MOINES, IOWA,

        Defendants.



       COME NOW the above-named parties and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) submit their stipulation to a dismissal with prejudice of Stephanie Swartz and Trudy

Paulson in the above captioned matter.



                                                    Respectfully submitted,

                                                    HOPKINS & HUEBNER, P.C.


                                                    By /s/ Brent L. Hinders
                                                      Brent L. Hinders, AT0003519

                                                    By /s/ Hugh J. Cain
                                                      Hugh J. Cain, AT0001379

                                                    By /s/ Eric M. Updegraff
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                                                                           STEPHANIE SWARTZ AND TRUDY
                                                                           PAULSON

                                                                       By /s/ Nathan A. Mundy__________
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                                                                       ATTORNEYS FOR DEFENDANTS


                                                                                           CERTIFICATE OF SERVICE

 Original filed.                                                        The undersigned certifies that the foregoing instrument was served
                                                                        upon each of the attorneys of record of all parties to the above-entitled
                                                                        cause herein at their respective addresses disclosed on the pleadings of
                                                                        record on the ____ day of ___________, 20____.
                                                                        By   ☐ U.S. Mail               ☐ Fax
                                                                             ☐ Hand Delivery           ☐ Electronically through CM-ECF
                                                                             ☐ Private Carrier         ☐ Other:
                                                                        Signature



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